
Per Curiam.
Appellant, Lee Memorial Health System, challenges a final order issued by the Agency for Health Care Administration ("AHCA"), finding it was overpaid with Medicaid funds for services provided to undocumented aliens. As AHCA is barred from conducting a retrospective review of prior authorized claims pursuant to section 409.905(5)(a), Florida Statutes, the Final Order is reversed and no overpayment is owed by Appellant. Lee Mem'l Health Sys. Gulf Coast Med. Ctr. v. State of Fla., Agency for Health Care Admin. , 1D16-1969, 272 So.3d 431, 2019 WL 942995 (Fla. 1st DCA Feb. 27, 2019).
REVERSED and REMANDED for entry of an order consistent with this opinion
B.L. Thomas, C.J., and Jay and M.K. Thomas, JJ., concur.
